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7

8                        IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,           ) 1:14-CR-00228-LJO-SKO
                                         )
12                      Plaintiff,       ) PRELIMINARY ORDER OF
                                         ) FORFEITURE
13        v.                             )
                                         )
14   BREE ANN BENSON,                    )
                                         )
15                    Defendant.         )
                                         )
16                                       )
17       Based upon the plea agreement entered into between United States

18   of America and defendant Bree Ann Benson, it is hereby

19       ORDERED, ADJUDGED AND DECREED as follows:

20       1.    Pursuant to 31 U.S.C. § 5317(c)(1), defendant Bree Ann

21   Benson’s interest in the following property shall be condemned and

22   forfeited to the United States of America, to be disposed of according

23   to law:

24             a. 2006 Land Rover Range Rover, VIN: SALSF25416A918902;

25             b. 2004 Bentley, VIN: SCBCR63W64C021299;

26             c. 2005 Bentley, VIN: SCBCR63W05C024281;

27             d. 2012 Mercedes Benz CLS550C, VIN: WDDLJ7DB0CA23135;

28             e. 1997 30-foot cabin Motorboat, Vehicle/Hull Identification

29                                                    Preliminary Order of Forfeiture

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1             Number PLCMK006F697, with 2000 Trailer; and,

2          f. 2009 Mercedes Benz C-Class C200 Sport Sedan, VIN:

3             WDDGF54X49R049847;

4          g. Approximately $20,192.37 seized from Wells Fargo account

5             number 5560878786, held in the name of Gonzalez Painting,

6             with Miguel Gonzalez as the primary and sole signor on

7             account;

8          h. Approximately $13,675.99 seized from Wells Fargo account

9             number 7632274366, held in the name of B.L.O.W., with

10            Miguel Gonzalez as the primary and sole signor on account;

11         i. Approximately $36,222.75 seized from Wells Fargo account

12            number 7632273871, held in the name of Infinity Ink

13            Fresno, with Miguel Gonzalez as the primary and sole

14            signor on account;

15         j. Approximately $55,203.20 seized from Wells Fargo account

16            number 9247007264, held in the name of Norma Pacheco;

17         k. Approximately $6.70 seized from Wells Fargo account number

18            9247004741, held in the name of Norma Pacheco;

19         l. Approximately $17,665.00 in U.S. Currency;

20         m. Approximately $8,086.00 in U.S. Currency;

21         n. Approximately $17,000.00 in U.S. Currency;

22         o. Approximately $140,630.00 in U.S. Currency;

23         p. Approximately $25,260.00 in U.S. Currency;

24         q. Approximately $23,675.00 in U.S. Currency;

25         r. Approximately $219,747.00 in U.S. Currency;

26         s. Firearm, Black SKS, serial number 19855-BA 4875;

27         t. Firearm, Black AR DPMS, serial number 149533;

28         u. Firearm, Black Woodrip SKS, serial number N-PAP007383;

29                                                Preliminary Order of Forfeiture

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1          v. Firearm, Silver 0.45 cal Smith & Wesson, model 1988,

2             serial number BDC3873;

3          w. Firearm, Black Short SKS, serial number 1968BF2282;

4          x. Firearm, Black Keltech 12 Gauge shotgun, serial number

5             X7523;

6          y. Firearm, Black AR Model DT-15, serial number DT00000021;

7          z. Firearm, Rock Island 12 Gauge shotgun, serial number

8             R1A1368646;

9          aa.   Firearm, Winchester Model 94, .30 cal rifle, serial

10               number 10103734;

11         bb.   Firearm, AR BSA Model ZM4, serial number DSF00782;

12         cc.   Firearm, Black SAIGA 12 gauge Model CANA-12, serial

13               number 13606582;

14         dd.   Firearm, Mossberg MBP 7.62, serial number MVP028504;

15         ee.   Firearm, Mossberg black 12 gauge shotgun, serial number

16               U770197;

17         ff.   Firearm, Desert Eagle Israel Military .44 cal, serial

18               number 27269;

19         gg.   Firearm, Colt 380 Auto Pocket lite GP20714 (silver,

20               black handle);

21         hh.   Firearm, Colt .25 cal, serial number 393499 (silver,

22               wood color handle);

23         ii.   Firearm, Glock 35 .40 cal, serial number EGR807;

24         jj.   Firearm, Derringer .38 special, serial number 059908;

25         kk.   Firearm, Remington Model 1100, serial number M584677V;

26         ll.   Firearm, Black AR, serial number NCV35924;

27         mm.   Firearm, Black AR Model ST-15, serial number KAI02810;

28         nn.   Firearm, SKS rifle, serial number L22288;

29                                                Preliminary Order of Forfeiture

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1               oo.   Firearm, Remington Rifle Model 7400, serial number

2                     B8135857;

3               pp.   Firearm, SKS Rifle Model WASR-10, serial number 1-

4                     92504-11R0;

5               qq.   Firearm, Sears Roebuck Model 43-103 0.22 cal;

6               rr.   Firearm, Taurus Model PT 1911 .45 cal, NAP64101;

7               ss.   Firearm, Glock 22 .40 cal, serial number VEW010;

8               tt.   Firearm, Iver Johnson Thrasher SS, serial number

9                     ESP0253;

10              uu.   Firearm, AR DPMS Model .223, serial number W0021064;

11              vv.   Firearm, Kel-tec SUB-2000, serial number EQ525;

12              ww.   Firearm, Ruger American .22 cal, serial number 830-

13                    16088;

14              xx.   A personal forfeiture money judgment against defendant
                      BREE ANN BENSON in the amount of $663,318.00.
15

16       2.     The above-listed assets constitute property which was

17   involved in a violation of 18 U.S.C. § 371 or is traceable to such

18   violation.

19       3.       Pursuant to Rule 32.2(b), the Attorney General (or a

20   designee) shall be authorized to seize the above-listed property.

21   The aforementioned property shall be seized and held by the Internal

22   Revenue Service – Criminal Investigations in its secure custody and

23   control.

24       4.     a. Pursuant to 31 U.S.C. § 5317(c)(1)(B), incorporating 21

25   U.S.C. § 853(n), and Local Rule 171, the United States shall publish

26   notice of the order of forfeiture.          Notice of this Order and notice

27   of the Attorney General’s (or a designee’s) intent to dispose of the

28   property in such manner as the Attorney General may direct shall be

29                                                      Preliminary Order of Forfeiture

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1    posted for at least 30 consecutive days on the official internet

2    government forfeiture site www.forfeiture.gov.           The United States may

3    also, to the extent practicable, provide direct written notice to any

4    person known to have alleged an interest in the property that is the

5    subject of the order of forfeiture as a substitute for published

6    notice as to those persons so notified.

7               b. This notice shall state that any person, other than the

8    defendant, asserting a legal interest in the above-listed property,

9    must file a petition with the Court within sixty (60) days from the

10   first day of publication of the Notice of Forfeiture posted on the

11   official government forfeiture site, or within thirty (30) days from

12   receipt of direct written notice, whichever is earlier.

13        5.     If a petition is timely filed, upon adjudication of all

14   third-party interests, if any, this Court will enter a Final Order of

15   Forfeiture pursuant to 31 U.S.C. § 5317, in which all interests will

16   be addressed.

17
     IT IS SO ORDERED.
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19     Dated:   June 10, 2015                    /s/ Lawrence J. O’Neill
                                          UNITED STATES DISTRICT JUDGE
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29                                                      Preliminary Order of Forfeiture

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